 

Case 2:15-cV-10579-SFC-RSW ECF No. 1 filed 02/13/15 Page|D.l Page 1 of 13

UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF MICHIGAN

lndia Wymes,

Plaintiff,
26348 Stanford Drive
Southfield, MI 48033
v.

Williarn AleXander,

Defendant.

5521 Bedford
Detroit, MI 48224

 

Oakland County Circuit
Case: 200773529ODS
Judge Cheryl Matthews

Case:2:15-cv-10579

Judge: Drain, Gershwin A_

N|J: Wha|en, R. Steven

Filed: 02-13-2015 At 04:32 PM
REM WYIV|ES V. ALEXANDER (DA)

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1331 and 1443; Defendant William Alexander hereby

removes this action from the 6th Circuit Court of Oakland County, Michigan, to the

United States Federal Court for the Eastern District of Michigan, Southern Division.

Removal is based on federal question jurisdiction of 28 U.S.C. §1443(1) because

Defendant is being deprived of rights guaranteed by federal law, and cannot reasonably

enforce any right in state court. This case is intricater intertwined With Federal Case

2:14-cv-12249. ln support of its notice, Defendant states as follows:

I. Background

l. In 2007, Plaintiff lndia Wym’es initiated an action for child support in the

Circuit Court of Oakland County, l\/II. (In accordance With 28 U.S.C. § l446(a), a

 

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copy of all process, pleadings and orders received by Defendant are entered as
Exhibirs in Federal case 2;14-cv-12249.1)

2. Sometime in November 2010, Child Protective Services (“CPS”) initiated
an investigation amidst allegations of child abuse against the Plaintiff. Upon
conclusion of the investigation, CPS established that the Plaintiff changed the
residence of the minor child without notifying the Court; a violation of MCL
722.31. CPS interviewed Defendant and relayed the aforementioned information;
firmly asserting that the minor child did not reside with his mother, but with his
maternal grandparents.

3. Upon discovering this information, Plaintiff conveyed to the Defendants in
Federal Case 2214-cv-12249, that there was a conflict of residence and evidence
of unjust enrichment discovered by an outside agency. (CPS)

4. The Defendants in that case did not accurately document that there was an
illegal change of residence, and sought to continue the support amount; unjustly
enriching Plaintiff in case 2007-735290DS. Defendant Alexander asked for three
years that the Defendants in Federal Case 2214-cv-12249 initiate an investigation;
Defendant Alexander also requested that the FOC obtain all documentation from
the independent CPS investigation All of the Defendants; agents; and acting
officers all refused, and chose to continue to enforce the incorrect amount. (See
Federal Compl. ll 3)

5. As a result of the refusal to document and/or initiate an investigation

pursuant to MCL 552.505(g) and (h)Z; and for “blocking Defendant Alexander

 

1 Alexander v. Rosen et. al.

 

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from testifying freely, fully, and truthfully, before the Court3, as to avoid a
permanent record; and for conspiring to contact various agencies and judicial
officers in an attempt to punish Defendant Alexander for defending his civil

rights, Plaintiff filed a civil suit against the Defendants on June 6, 2014.

II. Actions Within Federal Case 2:14-cv-12249

On June 6, 2014, William Alexander filed a civil action against the
Defendants for their ongoing violations of the RICO Statute and 42 U.S.C. §1985.
(See Plaintiff s Original Complaint.)

On July 29, 2014, this Court fashioned a flawed order dismissing
Defendants Rosen and Matthews, claiming among other things, that this Court
issued a Show Cause Order to Plaintiff June l9, 2014.4

Plaintiff appealed this dismissal to the Federal Court of Appeals for the 6th
Circuit on September 26, 2014.

On November 3, 2014, the Federal Court of Appeals for the 6th Circuit
refused jurisdiction since this Court’s Order was not a Final Order.

On November 7, 2014, Defendants filed with this Court a motion to

dismiss pursuant to Fed. R. Civ. P. l2(b)(6). 5

 

2 See Federai Compl. ‘[i 77.

3 A violation 0f42 U.S.C. §1985(2)(3).

4 Plaintiff did not receive the Court's ]une 19th, 2014 Order.

5 Attorney David Asmar conveniently forgot to dispatch a copy of the dismissal to Plaintiff.

 

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On December ll, 2014, Plaintiff filed a Request for Judicial Notice, along
with an affidavit. In that request for J udicial Notice, Plaintiff requested that the
Federal Court take judicial notice of the fact that all Defendants in F ederal Case
2:14-cv-12249 are still actively participating in Lower Court case no: 2007-
735290DS. This is a violation of MCR 2.003 (g)(i): (“The judge is a party to the
proceeding, or an officer, director, or trustee of a party;”)

On December ll, 2014, this Court fashioned an order to show cause why
an unopposed motion to dismiss by defendants should not be granted.

On December 16, 2014, Plaintiff informed the Court that opposing counsel
did not serve him, nor had he seen any motion to dismiss.

On January 9, 2015, Plaintiff filed a “Change of Address Notice” with this
Court.

On January 28, 2015, Plaintiff received a copy of several backdated Court
Ordersé, each dated December l7, 20147 and December 18, 2014. Accompanying
these Orders was the Defendant’s Motion to Dismiss pursuant to Fed. R. Civ. P.
l2(b)(6).

The Court Order dated December l7, 2014, did not take notice of the
adjudicative fact that each Defendant in Plaintiff’ s case ongoing Federal Case was

and are currently playing active roles in Lower Court Case No. 2007-735290DS.

 

6 Plaintiff contends that these Orders are flawed since they are outdated by a month, and have not
been renewed. Plaintiff is currently appealing the Order dismissing civil suit against Defendants
Gerald Rosen and Cheryl Matthews.

7 An Order Regarding Plaintiff’s Request for ]udicial Notice arrived in a separate envelope Plaintiff is
currently objecting to this Order. (See Plaintiff’s Motion for Objection to Court Order Due to the

Presumption of Collusion.]

 

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III. Notice of Removal Regarding State Case 2007-735290DS Is
Timely Filed 4

This lawsuit is a civil action within the meaning of the Acts of Congress
relating to removal of causes as defined by 28 U.S.C.A. l44l(a).

Defendant/Plaintiff William Alexander was served with the Defendant’s
Motion to Dismiss and the Court’s Refusal to Take Judicial Notice, on January
28, 2015.

On February 4, 2015, Defendant/Plaintiff was also served with Plaintiff
lndia Wymes Notice to Appear in 6th Circuit Court on February 11, 2015.

The removal of this action to this Court is timely under 28 U.S.C. §
1446(b), since this Notice of Removal is filed within 30 days after January 28,
2015, and February 4, 2015, which are the dates Defendant/Plaintiff was first
served with the complaint and summons.

The United States District Court for the Eastem District of Michigan is the
proper place to file this Notice of Removal under 28 U.S.C. §1443 because the
Federal District Court embraces any action in which a Defendant is denied,
cannot, or is deprived of the ability to enforce their civil or constitutional rights in

state court where an action is pending.

IV. This Court Has Federal Question Jurisdiction
The intricately combined nature of Federal Case 2:14-cv-12249 and State
Court Case 2007-735290DS are unquestionable on several fronts. Federal

question jurisdiction exists over Plaintiff lndia Wymes claims, because the State

 

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Court actors are aiding Plaintiff Wymes in receiving unjust enrichment, by
refusing to allow Defendant/Plaintiff Alexander to testify before the trial court on
the record. (See e.g., “Request for Judicial Notice” (Federal Docket Entry No. 21),
accompanied by an Affidavit (Docket Entry No. 22).

Furthermore, this is a conspiracy to obstruct justice by impeding
Defendant/Plaintiff Alexander from testifying on the record before the open court
in order to influence the verdict and presentment in the State Court case.

This behavior is apparent due to Judge Matthews’s refusal to waive State
Court fees without reason; Judge Matthews and David Hoffman also contacted
the State Court of Appeals and influenced the decision to have Defendant
Alexander’s case dismissed (See Federal Compl. ii 93. and il 139.)8

Federal jurisdiction of this case is also ascertained due to the violations of
42 U.S.C. 1985§ (3). Defendant/Plaintiff Alexander is deprived of exercising his
sixth amendment right to testify before the court. (“Logically included in the
accused's right to call witnesses whose testimony is "material and favorable to his
defense," United States v. Valenzuela-Bernal, 458 U.S. 858, 867 (1982), is a right
to testify himself, should he decide it is in his favor to do so. In fact, the most
important witness for the defense in many criminal cases is the defendant himself.
There is no justification today for a rule that denies an accused the opportunity to
offer his own testimony. See generally Westen, The Compulsory Process Clause,

73 Mich. L. Rev. 71, 119-120 (1974).”)9

 

8 On April 9, 2014, Defendant David Hoffman gave testimony on the record before the Court that he
contacted the State Court oprpeals.

9 Rock v. Arkansas, 483 US 44 - Supreme Court 1987

 

 

 

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Further Defendant/Appellant is deprived of his right to have his court fee’s
waived as an indigent individual pursuant to 28 U.S. Code § 1915.

Because Defendant/Plaintiff is barred from testifying before the Court, and
because Defendant/Plaintiff William Alexander is barred from having his fees
waived, Defendant/Plaintiff is being deprived of his civil and constitutional rights,

and removal of this entire case is appropriate under 28 U.S.C. § 1443.

V. Consent of the Defendant

This Notice of Removal is filed on behalf of Defendant William
Alexander.

Concurrently with this Notice of Removal, Defendant William Alexander
will file a copy of this Notice with the Sixth Circuit Court of Oakland County
Michigan. A copy of the written notice of the Notice of Removal to Federal Court
is attached here as Exhibit A. In accordance with 28 U.S.C. § 1446(d), Defendant
will give written notice to Plaintiff by contemporaneously serving this Notice of
Removal on Plaintiff.

If any question arises as to the propriety of the removal of this action,
Defendant respectfully request the opportunity to present a brief and oral
argument in support of his position that this case is removable See Sierminski v.
Transouth Fin. Corp., 216 F.3d 945, 949 (1 lth Cir. 2000) (announcing general
rule that post-removal evidence in assessing removal jurisdiction may be

considered by the Court).

 

 

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Conclusion

For the foregoing reasons, Defendant respectfully request that this civil
action be, and is hereby, removed to the United States District Court of the
Eastern District of Michigan, Southern Division, that this Court assume
jurisdiction of this civil action pursuant to 28 U.S.C. §1443, and that this Court
enter such other and further orders as may be necessary to accomplish the

requested removal and promote the ends of j ustice.

Dated: February 9, 2015 Respectfully submitted,
/s/ William M. Alexander
Defendant

 

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Exhibit A

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STATE OF MICHIGAN
IN THE 6th CIRCUIT COURT OF
OAKLAND COUNTY
lndia Wymes, Oakland County Circuit
Plaintiff, Case: 2007735290DS
26348 Stanford Drive Judge Cheryl Matthews

southfieid, MI 48033 §
v. i
William Alexander,

Defendant.
5521 Bedford
Detroit, MI 48224

 

NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT

 

Defendant William Alexander hereby provides to this Court and all parties the

following:

/

Notice of Removal to the United States District Court

l. By the filing of this Notice with the Clerk of this state Court, together with
the attached and corresponding petition and warrant for removal that was filed
in the United States District Court prior, these state proceedings are now
REMOVED, by automatic operation of federal law, and this Defendant now

formally notifies the Court and all parties of that same fact.

 

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2. Pursuant to 28 U.S.C. 1441, et seq., immediately upon the filing of this
Notice, with the Clerk of this Court, this case has been already removed; The
removal of jurisdiction from this Court is automatic by operation of federal
law, and does not require any additional written order from the District Judge
to cause this removal to become “effective” ~ the removal is an automatic
judicial event, and immediate by operation of law. (“The petition is now filed
in the first instance in the federal court. After notice is given to all adverse
parties and a copy of the petition is filed with the state court, removal is
effected and state court proceedings cease unless the case is remanded 28 U.

s. c. § 1446 (1964 ed.).)‘

3. For the reason that this case is now removed, the instant Court is without
jurisdiction
4. The petition for warrant of removal to the United States District Court is

attached hereto as required by the express language of federal law. Exhibit A.

WHEREFORE, Defendant William Alexander, notifies the Court and all other
parties that this cause is now removed, that this Court has absolutely no jurisdiction for
any judgment in this cause, unless and until the United States Supreme Court decides to
remand or not remand, and further moves for all other relief that is just and proper in the

premises under 28 U.S.C. § 1443.

Dated: February 9, 2015 Respectfully submitted,
/s/ William M. Alexander

Defendant

 

l Georgl`a v. Rachel, 384 US 780 - Supreme Court 1966 (emphasis added).

 
   

JS 44 (Rev' 12/IZ)C<';ISG 2215-CV-10579-SFC-RSWIMFQB`}EH|§H.E§§! 15 F’a§je|C|E))u.nf|t_yZill Wlll:i’c<'illgc€tiof[|l.zr

The 1 S 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required n . ' -
provided by local rules of court. This form approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet (SEE INSTRUCTIONS UN NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
india Wymes stanford j VL YL William Alexander

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() County of Residence of First L1sted Plaintiff County of Residence of First Listed Defendant Wayne
(EXCEPTIN I/.S, PLA/N (IN U.S. PLAINTIFF CASES ()NLY)

 
  

Case:2:15-cv-10579

Judge: Drain, Gershwin A_

MJ: Whalen, R. Steven

Filed: 02-13-2015 At 04:32 PM
REM WYMES V. ALEXANDER (DA)

(C) AttOrnCyS (l"i`rm Name, Addre.\'.r, and Telephone Number)

 

 

 

 
 
 

lI. BASIS OF JURISDIC (Place an "X” in 0ne B()x Only) III. CIFL ,,__1_ ___-1- ._, - - ---1 , V-- 1 ua 1 1 n\ 1 lou iriuue un A in une m))tfr)r Plaintij
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/ of Business In This State
Cl 2 U.S. Government ij 4 Diversity Citizen of Another State |J 2 Cl 2 Incorporated and Principal Place Cl 5 D 5
Defendant (Indi`ca!e Cili`zenshi`p of Parti'es i`n Item ll]) of Business ln Another State
Citizen or Subject of a CJ 3 Cl 3 Foreign Nation 111 6 U 6
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IV. NATURE OF SUIT (PIaLe an "X" in ()ne Br)x 0nly)

 
        
       
 

 

         

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Cl 120 Man`ne ij 310 Airplane E] 365 Personal Injury - of Property 21 USC 881 D 423 Withdrawal Cl 400 State Reapportionment
Cl 130 Miller Act 13 315 Airplane Product Product Liability 13 690 Other 28 USC 157 ij 410 Antitrust
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0 150 Recovery of Ovei~payment Cl 320 Assault, Libel & Pharmaceutical » f 1 ` __ 111 450 Commerce
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Student Loans ij 340 Marine Injury Product Cl 480 Consumer Credit
(Excludes Veterans) ij 345 Marine Product Liability i ~ ' `:/ ~ ' 1 / 6 ~~ C'l 490 Cable/Sat TV
153 Recovery of Overpayment Liability PERSONAL PROPERTY C1 710 Fair Labor Standards ij 861 HIA (1395ff) ij 850 Securities/Commodities/
of Veteran s Benefits ij 350 Motor Vehicle ij 370 Other Fraud Act D 862 Black Lung (923) Exeha.nge
610 Stockholders` Suits ij 355 Motor Vehicle Cl 371 Triith in Lending D 720 Labor/Management CI 863 DIWC/DIWW (405(g)) D 890 Other Statutory Actions
190 Otller Contract Product Liability Cl 380 Other Personal Relations C| 864 SSlD 'l`itle XVI Cl 891 Agricultural Acts
195 Contract Prod\ict Liability ij 360 Other Personal Property Damage ij 740 Railway Labor Act 13 865 RSI (405(g)) D 893 Environmental Matters
196 Franchise lnjury ij 385 Propeity Damage CI 751 Family and Medical Cl 895 Freedom of lnformation
13 362 Personal Injury - Product Liability Leave Act Act
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l AIO Land Condemnation

Habeas Ccirpus: Income Securi`ty Act ij 870 Taxes (U,S. Plaintiff Act/Review or Appeal of
220 Foreclosure U 463 Alien Detainee or Defendant) Agency Decision
|J 230 Rent Lease & Ejectment Cl 442 Employment Cl 510 Motions to Vacate 13 871 IRSrThird Party Cl 950 Constitutionali`ty of
D 240 Torts to Land Cl 443 Housing/ Sentence 26 USC 7609 State Statutes

111 245 Tort Product Liability
Cl 290 All Otller Real Property

ij 530 General
ij 535 Death Penalty

Accommodations
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Employment Other: Cl 462 Naturalizauon App ieation
Cl 446 Amer. w/Disabilities - D 540 Mandamus & Other D 465 Other Immigration
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V. ORIGIN (1’ ace an " " iii One Br)x 0nly)
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Cite the U.S. Civil Statute under Which you are filing (Do nol cite jurisdictional statutes unless diversity)t
28 U.S.C. §1443(1)

Brief description of cause:
Please See Attached

Vl. CAUSE OF ACTION

 

 

 

 

 

 

 

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VII. REQUESTED IN ij CHECK 1F THis is A CLAss ACT ' DEMAND s CHECK YEs o ' ' 1aim;
COMPLAINT: UNDER RULE 23, F~R¢Cv-P~ JURY DE D: CJ Yes 111 0

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lF ANY w m`"mcmm")' JUDGE W DocKET NUMBER 2;14_cv-12249

DATE MATTO

February 10, 2015 /KNW M//: §§ \

FOR OFFICE USE ONLY W

RECEIPT # AMOUNT JUDGE MAG, JUDGE

Case 2:15-cv-10579-SFC-RSW ECF No. 1 filed 02/13/15 Page|D.13 Page 13 of 13
PURSUANT TO LOCAL RULE 83.11

 

 

1. ls this a case that has been previously dismissed? El Y€S
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w 1
|f yes, give the following information:
Court:
Case No.:
Judge:

 

2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other

 

it appears substantially similar evidence Wi|| be offered or the sa
or related parties are present and the cases arise out of the same
transaction or occurrence.)

lt yes, give the following information:

COU l'tf United States District Court Eastern District

Case No_; 2:14-cv-12249

Judge: Sean Cox

Noms:

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